






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00441-CR






In re Joe Pena, Sr.






FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT


NO. 19,269, HONORABLE ED MAGRE, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



On December 12, 2001, the district court denied appellant Joe Pena, Sr.'s pro se
motion for post-conviction DNA testing.  See Tex. Code Crim. Proc. Ann. art. 64.01 (West Supp.
2004-05).  Pena filed a notice of appeal from this order on July 13, 2005.  The notice of appeal was
clearly too late.  See Tex. R. App. P. 26.2(a)(1).  Under the circumstances, we lack jurisdiction to
dispose of the purported appeal in any manner other than by dismissing it for want of jurisdiction. 
See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App.1998); Olivo v. State, 918 S.W.2d 519, 522-23
(Tex. Crim. App. 1996).

The appeal is dismissed.


				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Patterson and Puryear

Dismissed for Want of Jurisdiction

Filed:   August 5, 2005

Do Not Publish


